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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

 LIDIA MARIA MIRANDA,                                    §
      Plaintiff,                                         §
                                                         §
 v.                                                      §           CIVIL CASE NO. 5:21-cv-00657
                                                         §            JURY TRIAL DEMANDED
 FAMILY DOLLAR STORES OF TEXAS,                          §
 LLC,                                                    §
      Defendant.                                         §



             DEFENDANT FAMILY DOLLAR STORES OF TEXAS, LLC’S
                          NOTICE OF REMOVAL


        Pursuant to 28 U.S.C. § 1441, FAMILY DOLLAR STORES                       OF   TEXAS, LLC

(hereinafter “Defendant”) removes to this Court, the state court action described in

Paragraph 1 below. Pursuant to 28 U.S.C. § 1446(a), Defendant sets forth the

following "short and plain statement of the grounds for removal."

                                             1.
                                     THE REMOVED CASE

        1.      The removed case is a civil action filed in the 293rd Judicial District

Court of Dimmit County, Texas, on May 21, 2021, styled Lidia Maria Miranda v.

Family Dollar Stores of Texas, LLC, under Cause No. 21-05-14010-DCV (the “State

Court Action”).

                                      2.
                        DOCUMENTS FROM REMOVED ACTION

      3. Pursuant to FEDERAL RULE OF CIVIL PROCEDURE 81 and 28 U.S.C. § 1446(a),

Defendant attaches the following documents to this Notice of Removal:



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             (a)      A list of all parties in the case, their party type and current status;

             (b)      a civil cover sheet and certified copy of the state court docket sheet;
                      a copy of all pleadings that assert causes of action (e.g., complaints,
                      amended complaints, supplemental complaints, petitions, counter-
                      claims, cross-actions, third party actions, interventions, etc.); all
                      answers to such pleadings and a copy of all process and orders served
                      upon the party removing the case to this court, as required by 28
                      U.S.C. § 1446(a);

             (c)      a complete list of attorneys involved in the action being removed,
                      including each attorney's bar number, address, telephone number
                      and party or parties represented by him/her;

             (d)      A record of which parties have requested trial by jury; and

             (e)      The name and address of the court from which the case is being
                      removed.

                                            4.
                                   REMOVAL PROCEDURE

        3.         Except as otherwise expressly provided by Act of Congress, any civil

action brought in a state court of which the district courts of the United States have

original jurisdiction may be removed to the United States District Courts for the

district and division embracing the place where the action is pending. 28 U.S.C. §

1441. The San Antonio Division of the Western District Court of Texas is the United

States district and division embracing Dimmit County, Texas, and the county in

which the State Court Action is pending.

        4.         Pursuant to 28 U.S.C. § 1446(a), true and correct copies of all process,

pleadings and orders in the State Court Action as of the date of this pleading are

attached hereto as Exhibit "B" and incorporated herein for all purposes.




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        5.      Defendant will promptly give all parties written notice of the filing of

this Notice of Removal and will promptly file a copy of this Notice of Removal with

the Clerk of the 293rd Judicial District Court, of Dimmit County, Texas, where the

State Court Action is currently pending.

                                           IV.
                                     REMOVAL IS TIMELY

        6.      According to the State Court Action file, Defendant was served with a

copy of Plaintiff's Original Petition ("Petition") on June 10, 2021, via personal service.

        7.      Since the thirtieth day after service of the Petition on Defendant on July

10, 2021 (a Saturday), this Notice of Removal is being timely filed within the time

limits specified in 28 U.S.C. § 1446(b).

                                               V.
                                       VENUE IS PROPER

        8.      The United States District Court for the Western District of Texas – San

Antonio Division, is the proper venue for removal of the State Court Action pursuant

to 28 U.S.C. § 1441(a) because the 293rd Judicial District Court of Dimmit County,

Texas, is located within the jurisdiction of the United States District Court for the

Western District of Texas – San Antonio Division.

                                        VI.
                          DIVERSITY OF CITIZENSHIP EXISTS

        9.      This is a civil action that falls under the Court's original jurisdiction

pursuant to 28 U.S.C. § 1332 and is one that may be removed to this Court based on

diversity of citizenship in accordance with 28 U.S.C. §§ 1441 and 1446.




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        10.     According to the Petition, Plaintiff is a resident of Dimmit County, City

of Asherton and a citizen of the State of Texas. FAMILY DOLLAR STORES              OF   TEXAS,

LLC is a foreign Limited Liability Company organized and existing under the laws of

the Commonwealth of Virginia. FAMILY DOLLAR STORES OF TEXAS, LLC is a citizen of

the Commonwealth of Virginia and its principal place of business is located at 500

Volvo Parkway in the City of Chesapeake, Commonwealth of Virginia. As a Limited

Liability Company, Family Dollar is comprised of individual members and one

managing member entity – Family Dollar Stores of Ohio, Inc., which has a 100%

interest in FAMILY DOLLAR STORES OF TEXAS, LLC. The business address for all of the

individual members and the managing member entity of Family Dollar Stores of

Texas, LLC is 500 Volvo Parkway, City of Chesapeake, in the Commonwealth of

Virginia. Thus, pursuant to 28 U.S.C. § 1332(c)(1) all of the individual members of

Family Dollar Stores of Texas, LLC, which includes Beth Berman, Sandra L. Boscia,

Linde Carley, Jonathan Elder, Bradley Hunter, Michael Matacunas, Deborah Miller,

William A. Old, Jr., Gary Philbin, Robert L. Rogers, Thomas E. Schoenheit, Shawnta

Totten-Medley and Kevin Wampler, are all citizens of the Commonwealth of Virginia.

The identity and titles of the individual members of Family Dollar Stores of Texas,

LLC are as follows:

Beth Berman                   Vice President/Deputy General Counsel / Assistant Secretary
Sandra L. Boscia              Assistant Secretary
Linde Carley                  Assistant Secretary
Jonathan Elder                Vice President – Tax
Bradley Hunter                Vice President – Finance
Michael Matacunas             Chief Administrative Officer
Deborah Miller                Vice President
William A. Old, Jr.           Senior Vice President / General Counsel / Secretary
Gary Philbin                  President / Chief Operating Officer


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Robert L. Rogers                 Senior Vice President / Real Estate
Thomas E. Schoenheit             Vice President / Assistant General Counsel / Assistant Secretary
Shawnta Totten-Medley            Vice President / Assistant Secretary
Kevin Wampler                    Executive Vice President / Chief Financial Officer

          11.      Finally, Family Dollar Stores of Ohio, Inc., the sole managing member

of Family Dollar Stores of Texas, LLC, is a foreign corporation organized and formed

under the laws of the Commonwealth of Virginia and its principal place of business

is located at 500 Volvo Parkway in the City of Chesapeake, Commonwealth of

Virginia. Thus, pursuant to 28 U.S.C. § 1332(c)(1), Family Dollar Stores of Ohio, Inc.

is a citizen of the Commonwealth of Virginia.

          12.      Because the Plaintiff is a resident and citizen of the State of Texas and

Family Dollar is a resident and citizen of the Commonwealth of Virginia and has its

principal place of business in the Commonwealth of Virginia, complete diversity of

citizenship exists between all parties as required by 28 U.S.C. § 1332 for purposes of

diversity jurisdiction. Thus, this Court has jurisdiction over the parties based on

diversity of citizenship.

                               VII.
        THE AMOUNT IN CONTROVERSY REQUIREMENT IS SATISFIED

          13.      Plaintiff alleges in her Petition that she seeks “monetary relief of

$250,000.00, or less and non-monetary relief.”1

          14.      Based on the aforementioned facts, the State Court Action may be

removed to this Court by Defendant in accordance with the provisions of 28 U.S.C. §

1441(a) because: (i) this is a civil action pending within the jurisdiction of the United




1   See, "Plaintiff's Original Petition" p. 2 ¶ 6.

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States District Court for the Western District of Texas; (ii) this action is between

citizens of different states; and (iii) the amount in controversy as specifically pled by

the Plaintiff, exceeds $75,000, exclusive of interest and costs.

                                          VIII.
                               FILING OF REMOVAL PAPERS

        15.     Pursuant to 28 U.S.C. § 1446(d), Defendant is providing written notice

of the filing of this Notice of Removal to all counsel of record and is filing a copy of

this Notice with the Clerk of the 293rd Judicial District Court of Dimmit County,

Texas, in which this action was originally commenced.

                                               IX.
                                           CONCLUSION

        16.     FAMILY DOLLAR STORES             OF   TEXAS, LLC hereby removes the above-

captioned matter from the 293rd Judicial District Court of Dimmit County, Texas, and

requests that further proceedings be conducted in the United States District Court

for the Western District of Texas – San Antonio Division, as provided by law.

                                                 Respectfully submitted,

                                                 MAYER LLP
                                                 750 North St. Paul Street, Suite 700
                                                 Dallas, Texas 75201
                                                 214.379.6900 / 214.379.6939

                                                 By: /s/ Zach T. Mayer
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                                                 ATTORNEYS FOR DEFENDANT
                                                 FAMILY DOLLAR STORES OF TEXAS, LLC


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                                 CERTIFICATE OF SERVICE

       The undersigned does hereby certify that on July 9, 2021, the foregoing Notice
of Removal was electronically filed, as required by the United States District Court
for the Western District of Texas, using the Court’s CM/ECF filing system, which will
provide notice and a copy of this document, with attachments, to the following, who
are indicated to be registered ECF filers in the United States District Court for the
Western District of Texas:


                                                         ☒E-MAIL (office@ajr-law.com)
                Armando J. Roman                         ☐HAND DELIVERY
               ROMAN LAW OFFICE                          ☐FACSIMILE
                 P. O. Box 690728
                                                         ☐OVERNIGHT MAIL
             San Antonio, Texas 78629
                                                         ☐REGULAR, FIRST CLASS MAIL
                Counsel for Plaintiff                    ☒CM/ECF
                                                         ☐CERTIFIED MAIL/RETURN RECEIPT REQUESTED


                                                          /s/ Zach T. Mayer
                                                              Zach T. Mayer




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